                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DMSION
                                 No. 5:09-CR-321-D
                                 No. 5:15-CV-42-D


 GREGORY BARTKO,                             )
                                             )
                           Petitioner,       )
                                             )
                   v.                        )                       ORDER
                                             )
 UNITED STATES OF AMERICA,                   )
                                             )
                            Respondent.      )


       On February 26, 2019, Gregory Bartko ("Bartko" or ''petitioner'') moved for relief from

judgement under Federal Rule of Civil Procedure 60(b) [D.E. 359] and filed a memorandum in

support [D.E. 360]. On April 9, 2019, the United States responded in opposition [D.E. 364]. On

April 22, 2019, Bartko replied [D.E. 365]. On September 3, 2019, Bartko moved to expand the

record concerning his Rule 60(b) motion [D.E. 368]. Thereafter, the court requested and received

supplemental briefing. See [D.E. 384]; [D.E. 387]; [DE. 390]. As explained below, the court

dismisses Bartko's Rule 60(b) motion, denies Bartko's motion to recuse, and denies Bartko's

motion to expand the record.

                                                 I.

       On November 18, 2010, following a thirteen-day trial and four hours of deliberation, a jury

convicted Bartko of one count of conspiracy to commit mail fraud, money laundering, and the sale

ofunregistered securities, four counts ofmail fraud and aiding and abetting, and one count of selling

unregistered securities and aiding and abetting. See [D.E. 158, 159]. "The investments primarily

concerned two private equity funds that Bartko, a long-time securities lawyer and securities dealer



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in Atlanta, Georgia, created named the Caledonian Fund and the Capstone Fund. Ultimately, the

trial focused on Bartko's knowledge, intent, and good faith." Bartko v. United States, No.

5:09-CR-321-D,2018WL5780838,at•t (E.D.N.C.Nov.2,2018)(unpublished),~dismiss~

774 F. App'x 815 (4th Cir. 2019) (per curiam) (unpublished), cert. deni~ 140 S. Ct. 1229 (2020).

       This court has thoroughly described the procedural and factual history of this case, and

familiarity with the entire record is presumed. See Bartko, 2018 WL 5780838, at •t-21; United

States v. Bartko, No. 5:09-CR-321-D, 2012 WL 13185533, at *2-62 (E.D.N.C. Jan. 17, 2012)

(unpublished), aff'd, 728 F.3d 327 (4th Cir. 2013). Of particular relevance to Bartko's latest

motions, in 2011, Bartko moved for a new trial alleging that the government violated Brady v.

Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972), by withholding

exculpatory evidence. See [D.E. 211]. On January 17, 2012, this court denied that motion in a 120-

page order. See Bartko, 2012 WL 13185533, at *2-62. Following his sentencing, Bartko appealed

[D.E. 262]. On August 12, 2013, the United States Court ofAppeals for the Fourth Circuit affirmed

Bartko's conviction, Bartko's sentence, and this court's denial ofBartko's motions for a new trial.

See Bartko, 728 F.3d at 334--47.

       In January 2015, Bartko moved under 28 U.S.C. § 2255 to vacate, set aside, or correct his

sentence [D.E. 292, 295]. On July 27, 2015, Bartko moved to amend his section 2255 motion [D.E.

305]. The court granted Bartko's motion to amend [D.E. 316], and the parties filed cross motions

for summary judgment [D.E. 321, 327, 328]. While those motions were pending, Bartko filed

motions for discovery [D.E. 330] and for leave to file supplemental Brady claims [D.E. 339]. On

November 2, 2018, in a 42-page order, the court denied Bartko's motions for leave to file

supplemental Brady claims and for discovery, granted the government's motion for summary

judgment, denied Bartko's cross-motion for summary-judgment, and dismissed Bartko's section

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2255 motion. See Bartko, 2018 WL 5780838, at *2-21.

       On February 26, 2019, Bartko requested relief from judgment pursuant to Federal Rule of

Civil Procedure 60(b) [D.E. 359]. 1 "Bartko first contends that the [c]ourt's failure to address the

timeliness ofhis putative supplemental Brady claims under the relevant statute of limitations found

in 28 U.S.C. § 2255(f)(4) constitutes a 'mistake' within the meaning of' Rule 60(b)(1 ). [D.E. 360]

3. "The second aspect of [Bartko' s] Motion For Relief seeks disqualification ofthe Court under the

procedure established by the Supreme Court in Liljeberg v. Health Servs. Acquisition Corp., 486

U.S. 847 (1988) due to the Court's bias and lack of impartiality against Bartko." Id. at 2. Thus,

Bartko's Rule 60(b) ''motion constitutes a mixed Rule 60(b)/§ 2255 motion." United States v.

McRae, 793 F.3d 392,394 (4th Cir. 2015). Specifically, Bartko's attack on the court's analysis of

his supplemental Brady claims is an impermissible successive 2255 motion, while his arguments

concerningjudicial biasattacktheintegrityofthepriorproceeding. See [D.E. 384] 4-5. Therefore,

on April 28, 2020, the court "'a:fford[ed] [Bartko] an opportunity to elect between deleting the

improper claims or having the entire motion treated as a successive application[,]"' McRae, 793 F.3d

at 394, 400 (quoting and citing United States v. Winestock, 340 F.3d 200, 207 (4th Cir. 2003),

abrogated in part on other grounds by McRae, 793 F.3d at 39~00), and directed the parties to file

responses. See [D.E. 384].

       Bartko disagrees with this procedure and asks the court to rule on his recusal request "as a

paramount procedural matter before any other issues are decided by the Court which relate to

Bartko' s Rule 60(b) motion." [D.E. 387] 3. Bartko contends that the two grounds presented in his

motion are "inextricably interwoven" in that judicial bias infected the court's ability to properly


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         Bartko also moved to expand the record [D.E. 368]. The government responded in
opposition to both motions [D.E. 364, 374], and Bartko replied [D.E. 379].

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analyze Bartko's supplemental Brady claims when dismissing his 2255 motion. Id. at 5--6. The

government contends that Bartko's "Rule 60(b) motion is a mixed Rule 60(b)/§ 2255 motion and

because [Bartko] failed to make the required election, the Court should treat Petitioner's mixed

motion as a successl've habeas application and dismiss it." [D.E. 390] 1.

                                                   II.

          A Rule 59(e) motion is not a second or successive habeas petition under AEDPA. See

Banister v. Davis, 140 S. Ct. 1698, 1705--08 (2020). Bartko argues that Banister ''makes it clear that

Bartko's Rule 60(b) Motion is not a second or successive habeas claim subject to §2244(b)." [D.E.

387] 8.

          "Rule 60(b) differs from Rule 59(e) in just about every way that matters to the inquiry here."

Banister, 140 S. Ct. at 1709; see Williams v. United States, No. CR 403-253, 2020 WL 5441241,

at• 1 (S.D. Ga. Sept. 10, 2020)(unpublished); Woodson v. Sec'y Dq,'t of Corr., No. 02-21921-CIV,

2020 WL 4604452, at •4 (S.D. Fla Aug. 10, 2020) (unpublished). Bartko argues that the court's

alternative merits analysis of his supplemental Brady claims is ''mere dicta" which permits him to

seek reconsideration of the court's conclusion that these claims were untimely. See [D.E. 387] 7,

9--10. ThecourtrejectsBartko'sargument. Will v. Lumpkm, 978 F.3d933, 937-40 (5th Cir. 2020);

seeGonzalezv. Crosby, 545 U.S. 524, 531-32n.4 (2005); McK.nightv. Bishop, 771 F.App'x201,

202 (4th Cir. 2019) (per curiam) (unpublished); United States v. Washingtol!, 653 F.3d 1057, 1064

(9th Cir. 2011); United States v. Lee, No. 4:97-CR-00243-02 KGB, 2020 WL 3625732, at *6-7

(E.D. Ark. July 2, 2020) (unpublished); Yuzaryv. United States, Nos. 04 CIV. 2809 (RPP}, 96 CR.

967 (RPP), 2007 WL 4276864, at *4 (S.D.N.Y. Nov. 30, 2007) (unpublished). Finally, that Bartko

filed his Rule 60(b) motion while his appeal was pending does not salvage his motion from

AEDPA's limitations on second or successive petitions. See Balbuena v. Sullivan, No. 12-16414,

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2020WL674977S, at *14-16 (9th Cir. Nov.17,2020); Phillipsv. United States, 668 F.3d433, 435

(7th Cir. 2012).

       Banister does not alter the court's conclusion that Bartko's Rule 60(b) motion is ''mixed."

Under Fourth Circuit precedent, Bartko must elect how he wishes to proceed. See, e...g._, McRae, 793

F.3d at 394; Winestock, 340 F.3d at 208--09. Because Bartko failed to make an election, the court

dismisses his motion for lack of jurisdiction. See,~ Winestock, 340 F.3d at 208--09.

       Alternatively, the court addresses Bartko's request for the court to recuse. Cf. United States

v. Fugit, 749 F. App'x 212, 213 (4th Cir. 2019) (per curiam) (unpublished); United States v.

Trappier, 712 F. App'x 343, 344 (4th Cir. 2018) (per curiam) (unpublished); United States v.

Walto~ 587 F. App'x 83, 84 (4th Cir. 2014) (per curiam) (unpublished). "Judicial recusals are

governed by a framework of interlocking statutes. Under 28 U.S.C. § 4SS(a), all 'judge[s] of the

United States' have a general duty to 'disqualify [themselves] in any proceeding in which [their]

impartiality might reasonably be questioned."' Belue v. Leventhal, 640 F.3d 567, 572 (4th Cir.

2011) (quoting28 U.S.C. § 4SS(a)); seeLitek;yv. United States, 510 U.S. 540, 552-53, SSS (1994);

United States v. Cherry, 330 F.3d 658, 665--66 (4th Cir. 2003). The "objective standard asks whether

the judge's impartiality might be questioned by a reasonable, well-informed observer who assesses

all the facts and circumstances." United States v. Stone, 866 F.3d 219, 230 (4th Cir. 2017)

(quotation and citation omitted).

       A judge need not recuse "simply because of unsupported, irrational or highly tenuous

speculation[.]" Cherry, 330 F.3d at 665 (quotation omitted). Moreover, merely ruling against a party

does not show impartiality or bias. Litek;y, 510 U.S. at SSS; Belue, 640 F.3d at 574. "Even remarks

made 'that are critical or disapproving of, or even hostile to, counsel, the parties, or their cases,

ordinarily do not support a bias or partiality challenge."' United States v. Lentz, 524 F.3d SO 1, 530

                                                  s
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(4th Cir. 2008) (quoting Liteky. 510 U.S. at SSS).

       "The alleged bias and prejudice to be disqualifying must stem from an extrajudicial source

and result in an opinion on the merits on some basis other than what the judge learned from his

participation in the case." United States v. Grinnell Corp., 384 U.S. 563,583 (1966); see United

States v. Black, 490 F. Supp. 2d 630,666 (E.D.N.C. 2007). "[W]hile recusal motions serve as an

important safeguard against truly egregious conduct, they cannot become a form ofa brushbackpitch

for litigants to hurl at judges who do not rule in their favor." Belue, 640 F.3d at 574.

       Bartko argues that ''personal bias by the Court demonstrated in the Order with respect to the

supplemental Brady claims" necessitates recusal. [D.E. 360] 15. Specifically, Bartko argues that

the "anti-Hollenbeck bias revealed in the Court's Order demonstrates, using the Court's own

pejorative phrases, the necessity of recusal in resolving Bartko's supplemental claims." Id. 19.

       The court's :findings and conclusions about Hollenbeck and Bartko' s claims do not stem from

any extrajudicial source and do not warrant recusal from this case. See,~, Liteky, 510 U.S. at

SSS-56; United States v. Caramadre, 807 F.3d 359, 374-75 (1st Cir. 2015); Sametv. United States,

559 F. App'x 47, SO (2d Cir. 2014) (unpublished); United States v. Ransom, 428 F. App'x 587,

590-92 (6th Cir. 2011) (unpublished); United States v. Plunk~ No. 4:04-CR-70083, 2020 WL

3871171, at *3 (W.D. Va. July 9, 2020) (unpublished); Bany v. United States, No. 14 CV 5898

(RID), 2018 WL 443336, at• 10 (E.D.N.Y. Jan. 16, 2018) (unpublished)~ certificate of aru>ealability

denied, No. 18-600, 2018 WL 7502893 (2d Cir. Aug. 16, 2018); United States v. Titus, Criminal

Action No. 11-159, 2015 WL 1414550, at *4 (E.D. La. Mar. 27, 2015) (unpublished); United States

v. Flournoy. No. 12-CR-50044, 2014 WL 12709679, at *2 (N.D. m. Apr. 24, 2014) (unpublished);

United States v. Hogeland, No. 10-CR-0061 (PJS/AJB), 2012 WL 4868904, at *8-10 (D. Minn. Oct.

15, 2012) (unpublished); Black, 490 F. Supp. 2d at 665-66; Bin-Wahad v. CoughJin, 853 F. Supp.

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680, 685-86 (S.D.N.Y. 1994). Thus, the court denies as meritless Bartko's motion for recusal.

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       In sum, the court DISl\flSSES Bartko's Rule 60(b) motion [D.E. 359] for lack of

jurisdiction, DENIES Bartko's motion for recusal~ and DENIES Bartko's motion to expand the

record [D.E. 368].

       SO ORDERED. This _g_ day of December 2020.



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                                                       United States District Judge




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